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                            EXHIBIT 11
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  Perioperative Medicine


                                                                                                           ABSTRACT
  ANESTHESIOLOGY                                                                                           Background: Despite application of multimodal pain management strategies,
                                                                                                           patients undergoing spinal fusion surgery frequently report severe postopera-

   Perioperative Methadone                                                                                 tive pain. Methadone and ketamine, which are N-methyl-d-aspartate receptor
                                                                                                           antagonists, have been documented to facilitate postoperative pain control. This

   and Ketamine for
                                                                                                           study therefore tested the primary hypothesis that patients recovering from spi-




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                                                                                                           nal fusion surgery who are given ketamine and methadone use less hydromor-

   Postoperative Pain Control
                                                                                                           phone on the first postoperative day than those give methadone alone.
                                                                                                           Methods: In this randomized, double-blind, placebo-controlled trial, 130 spi-

   in Spinal Surgical Patients                                                                             nal surgery patients were randomized to receive either methadone at 0.2 mg/kg
                                                                                                           (ideal body weight) intraoperatively and a 5% dextrose in water infusion for 48 h
                                                                                                           postoperatively (methadone group) or 0.2 mg/kg methadone intraoperatively and a
   A Randomized, Double-blind,                                                                             ketamine infusion (0.3 mg · kg−1 · h−1 infusion [no bolus] intraoperatively and then
                                                                                                           0.1 mg · kg−1 · h−1 for next 48 h [both medications dosed at ideal body weight];
   Placebo-controlled Trial                                                                                methadone/ketamine group). Anesthetic care was standardized in all patients.
                                                                                                           Intravenous hydromorphone use on postoperative day 1 was the primary outcome.
   Glenn S. Murphy, M.D., Michael J. Avram, Ph.D.,                                                         Pain scores, intravenous and oral opioid requirements, and patient satisfaction with
   Steven B. Greenberg, M.D., Jessica Benson, B.S.,                                                        pain management were assessed for the first 3 postoperative days.
   Sara Bilimoria, B.S., Colleen E. Maher, B.S.,
   Kevin Teister, B.S., Joseph W. Szokol, M.D.                                                             Results: Median (interquartile range) intravenous hydromorphone require-
                                                                                                           ments were lower in the methadone/ketamine group on postoperative day 1
   Anesthesiology 2021; XXX:00–00                                                                          (2.0 [1.0 to 3.0] vs. 4.6 [3.2 to 6.6] mg in the methadone group, median
                                                                                                           difference [95% CI] 2.5 [1.8 to 3.3] mg; P < 0.0001) and postoperative day 2.
                                                                                                           In addition, fewer oral opioid tablets were needed in the methadone/ketamine
   EDITOR’S PERSPECTIVE                                                                                    group on postoperative day 1 (2 [0 to 3] vs. 4 [0 to 8] in the methadone group;
                                                                                                           P = 0.001) and postoperative day 3. Pain scores at rest, with coughing, and
   What We Already Know about This Topic
                                                                                                           with movement were lower in the methadone/ketamine group at 23 of the
   • Ketamine is an N-methyl-d-aspartate antagonist that provides anal-                                    24 assessment times. Patient-reported satisfaction scores were high in both
     gesia in various contexts                                                                             study groups.
   • Whether adding low-dose ketamine to methadone, also an N-methyl-
     d-aspartate antagonist, improves analgesia remains unknown
                                                                                                           Conclusions: Postoperative analgesia was enhanced by the combination of
                                                                                                           methadone and ketamine, which act on both N-methyl-d-aspartate and μ-opioid
   What This Article Tells Us That Is New                                                                  receptors. The combination could be considered in patients having spine surgery.
   • In a randomized trial of 130 spinal surgery patients, adding ket-                                     (ANESTHESIOLOGY 2021; XXX:00–00)
     amine to methadone reduced pain scores from 4 to 2 points on an
     11-point Likert scale and roughly halved postoperative opioid use
   • Adding low-dose ketamine to methadone improves analgesia and                                 and associated complications. In a study comparing pain
     reduces opioid requirement and could be considered in patients
                                                                                                  scores in 179 surgical procedures, 3 of the 6 surgeries with a
     recovering from spine surgery
                                                                                                  median pain score of 7 on postoperative day 1 (rating scale
                                                                                                  of 0 to 10) were major spinal procedures.2 Risk factors for

  I  n the United States, 80% of surgical patients reported
     postoperative pain, with 88% of these patients describ-
   ing pain intensity as moderate to severe.1 Poorly controlled
                                                                                                  severe postoperative pain in this patient population include
                                                                                                  significant surgical trauma, preexisting neuropathic pain,
                                                                                                  preoperative opioid use (and associated tolerance, hyperal-
   postoperative pain can contribute to adverse events, includ-                                   gesia, and allodynia),3 and perioperative anxiety/mood dis-
   ing morbidity, increased hospitalization costs, impaired                                       orders.4 Therefore, techniques to reduce postoperative pain
   quality of life, prolonged opioid use, and chronic postsur-                                    are essential in optimizing outcomes in these patients.
   gical pain.1 Patients undergoing spinal fusion surgery are                                        Multimodal pain management regimens, which involve
   at high risk for moderate-to-severe postoperative pain                                         use of additive or synergistic combinations of analgesics, are

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   HealthSystem, Evanston, Illinois (S.B.G., J.B., S.B., C.E.M., K.T.); and the Department of Anesthesiology, University of Southern California Keck School of Medicine, Los Angeles,
   California (J.W.S.).
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ANESTHESIOLOGY, V XXX • NO XXX	xxx XXX                                                                                                                                                         1
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    PERIOPERATIVE MEDICINE


    effective in reducing postoperative pain, decreasing opioid           date of registration, July 1, 2016; principal investigator,
    use, and attenuating complications. Therapeutic strategies            Glenn Murphy). The investigation was conducted at a sin-
    utilizing acetaminophen, nonsteroidal anti-inflammatory               gle tertiary medical center (NorthShore Evanston Hospital),
    agents, steroids, lidocaine, and long-acting local anesthetics        and written informed consent was obtained from all sub-
    have been shown to improve postoperative pain outcomes                jects. Patients were approached by research assistants and
    and enhance recovery.1,5 Antagonists of the N-methyl-d-               enrolled on the day of surgery. Study staff evaluated eligi-
    aspartate (NMDA) receptor, such as ketamine and meth-                 bility, obtained informed consent, managed the conduct of




                                                                                                                                                  Downloaded from http://pubs.asahq.org/anesthesiology/article-pdf/doi/10.1097/ALN.0000000000003743/504193/aln.0000000000003743.pdf by Jonathan Slonin on 12 April 2021
    adone, have also been used as components of multimodal                the trial, and collected and managed the data.
    anesthetic protocols. Postoperative pain scores and opioid                A total of 130 patients, ages 18 to 80 yr, undergoing
    use are significantly reduced in spinal surgical patients given       elective spinal fusion surgery of one or more sacral, lum-
    ketamine6–8 or methadone9 compared to control groups.                 bar, and/or thoracic levels were enrolled. Exclusion cri-
    Furthermore, enhanced-recovery-after-surgery protocols                teria included American Society of Anesthesiologists
    for spine surgery have recommended use of methadone                   (Schaumburg, Illinois) Physical Status IV or V, preoperative
    and ketamine as part of a multimodal therapeutic approach             renal insufficiency or failure (serum creatinine ≥ 2 mg/dl),
    for postoperative pain.5,10 In an experimental neuropa-               pulmonary disease necessitating home oxygen therapy, sig-
    thy model, a supra-additive synergy between methadone                 nificant liver disease (cirrhosis or hepatic failure), recent
    and ketamine to produce antinociception has been doc-                 history of alcohol or opioid abuse, allergy to methadone,
    umented.11,12 Currently, however, there is limited evidence           hydromorphone, or ketamine, poor comprehension of the
    of the efficacy of a combination of the two agents on out-            English language, or inability to use a patient-controlled
    comes in this patient population.                                     analgesia (PCA) pump (due to intellectual impairment, dis-
        Recent literature has supported the safety of intraoper-          orientation, or confusion).
    ative methadone; studies have documented that the inci-                   Patients were assigned to one of two groups using a
    dences of adverse outcomes did not differ between patients            computer-generated randomization table (simple random-
    given this long-acting agent and those given traditional              ization without restrictions): a methadone group (intraop-
    shorter-acting opioids.9 In a previous investigation, we              erative methadone and a dextrose 5% in water infusion)
    observed that patients undergoing spinal fusion surgery               or a methadone/ketamine group (intraoperative meth-
    given intraoperative methadone required less opioid med-              adone and a ketamine infusion). The allocation sequence
    ication and had lower postoperative pain scores than those            was generated by one of the study investigators, who pro-
    given conventional opioids, with no differences in adverse            vided the randomization assignments to the operating
    outcomes observed between groups.13 However, postoper-                room pharmacy that assigned patients to the study groups
    ative hydromorphone use remained relatively high in the               and prepared all of the study medications. Care providers,
    methadone group (4.6 mg in the first 24 h), and moderate              researchers, and patients were blinded to group assignment.
    pain was reported in these subjects (median scores of 4 to            Clinicians delivering intraoperative care were provided with
    6 on a 0 [no pain] to 10 [worst pain imaginable] numeric              a 3-ml syringe labeled “methadone” that contained 0.2 mg/
    rating scale).13 The aim of this randomized, double-blind,            kg of methadone (based on ideal body weight, up to a max-
    placebo-controlled trial in spinal surgical patients was to           imal dose of 20 mg). This dose was selected based on data
    determine whether addition of a ketamine infusion to a                establishing effectiveness and safety of methadone 0.2 mg/
    methadone-based opioid regimen would further reduce                   kg in patients undergoing spine surgery13–15 and other pro-
    opioid requirements and pain scores (to mild levels, scores           cedures.16 The contents of the syringe labeled “methadone”
    of 3 or lower) after spine surgery. We therefore tested the           were given to all study subjects over 5 min at induction of
    primary superiority hypothesis that adding ketamine to                anesthesia. In addition, the pharmacy prepared sequentially
    methadone reduces hydromorphone requirement on the                    numbered, identical-appearing 500-ml bags of dextrose 5%
    first postoperative day after spine surgery compared to               in water. For patients assigned to the methadone/ketamine
    methadone alone. Secondary outcome measures included                  group, 250 mg of ketamine was added to the dextrose 5% in
    hydromorphone requirements on postoperative days 2 and                water bag (total volume 500 ml), whereas patients assigned
    3, pain scores, patient satisfaction with pain management,            to the methadone group received only an infusion of dex-
    and any potential complications associated with methadone
                                                                          trose 5% in water (no drug added to the 500 ml volume).
    or ketamine administration.
                                                                          The 500 ml bags were connected to a pump that was pro-
    Materials and Methods                                                 gramed to deliver an infusion of ketamine dosed at ideal
                                                                          body weight (or an equal volume of dextrose 5% in water)
    Study Population and Perioperative Management                         at a rate of 0.3 mg · kg−1 · h−1 from induction of anesthe-
    The Institutional Review Board of NorthShore University               sia until surgical closure, at which time the infusion was
    HealthSystem (Evanston, Illinois) approved this random-               decreased to 0.1 mg · kg−1 · h−1. The infusion was main-
    ized, double-blind, placebo-controlled clinical trial (regis-         tained at a rate of 0.1 mg · kg−1 · h−1 in the postanesthesia
    try, ClinicalTrials.gov; registration number, NCT02827526;            care unit (PACU) and for the next 48 postoperative hours.

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                                                                                                   Methadone and Ketamine in Spine Surgery


       Dosing of ketamine was based on recommendations in the                    assessed and treated by surgical ward nurses per standard
       literature17,18 and from clinical experience at our institution.          protocols, with the goal of maintaining pain scores less than
           Patients were given 2 mg of midazolam before entering                 or equal to 4 on the 0 to 10 numerical rating scale.
       the operating room. Standard intraoperative monitoring
       was applied, which included an automatic blood pressure                   Data Collection
       cuff, electrocardiography, capnography, pulse oximetry, and
                                                                                 In the preoperative holding area, a research team member
       bispectral index monitoring (BIS system, Aspect Medical
                                                                                 recorded preoperative levels of pain at rest, with coughing,




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       Systems, USA). Anesthesia was induced with propofol 1                     and with movement using a 0 to 10 numeric rating scale.
       to 2 mg/kg, lidocaine 50 mg, fentanyl 100 µg, rocuronium                  Preoperative sedation was measured on a 0 to 3 scale (0,
       0.6 mg/kg, dexamethasone 8 mg, and methadone 0.2 mg/                      fully awake; 1, mildly sedated, seldom drowsy, and easy to
       kg. The ketamine or dextrose 5% in water infusion was                     awaken; 2, moderately sedated, often drowsy, and easy to
       initiated after induction and dosed as described above.                   awaken; and 3, severely sedated, somnolent, and difficult to
       Anesthesia was maintained with sevoflurane 1%, remifent-                  awaken).The presence or absence of dizziness, nausea, vom-
       anil 0.1 µg · kg−1 · min−1, and a propofol infusion titrated to           iting, or itching was noted. The use of preoperative opioids
       50 and 150 µg · kg−1 · min−1 in order to achieve bispectral               was documented.
       index values between 40 and 60 and mean arterial pres-                        Anesthesia team members recorded heart rate and mean
       sures within 20% of baseline measures (a combination of                   arterial blood pressures preinduction and then 5, 15, 30, 45,
       lower concentrations of propofol and sevoflurane are used                 and 60 min postinduction. In addition, the times between
       at our institution during spinal surgery in order to allow for            the end of surgery and tracheal extubation were noted, as
       acceptable sensory evoked potential monitoring). Redosing                 was the use of any additional hydromorphone in the oper-
       of rocuronium was determined based on requirements for                    ating room. PACU nurses documented the times from
       motor evoked potential monitoring. The administration of                  PACU admission until first request for pain medication and
       additional fentanyl (up to a total dose of 200 µg) or hydro-              the total dose of hydromorphone (nurse-administered and
       morphone (1 mg), was at the discretion of the anesthesia care             via the PCA device). Nurses also recorded the times to meet
       team. Hypotension was treated with phenylephrine 80 µg,                   discharge criteria and to achieve actual discharge. At the
       ephedrine 5 mg, or a fluid bolus, as indicated. Episodes of               time of discharge from the PACU, overall satisfaction with
       hypertension were managed by increasing the propofol                      pain management was measured using an 11-point numeric
       infusion rate. Blood glucose concentrations were monitored                rating scale (0, worst possible; 10, best possible).
       every hour in insulin-dependent diabetic patients and every                   On PACU arrival, a research team member assessed
       2 to 4 h in non–insulin-dependent diabetic patients, and                  patients for pain at rest, with coughing, and with move-
       patients with blood glucose concentrations greater than 180               ment using a 0 to 10 numeric rating scale. Level of sedation
       to 200 mg/dl were treated with insulin. At the conclusion                 was determined using the 0 to 3 scale described above. The
       of the procedure, patients were given odansetron 4 mg, and                presence or absence of nausea and vomiting was noted, the
       neuromuscular blockade was reversed with neostigmine 50                   severity graded on a 3-point scale (1, mild; 2, moderate; 3,
       to 70 µg/kg (with an appropriate dose of glycopyrrolate) or               severe), and drugs used to treat these events were recorded.
       sugammadex 2 to 4 mg/kg. Patients were extubated in the                   The presence or absence of episodes of itching, hypoxemia
       operating room unless concerns about airway edema were                    (peripheral oxygen saturation less than 90%), hypoventila-
       raised by the care team.                                                  tion (respiratory rate less than 8), dizziness, or hallucinations
           Patients were assessed for pain by nurses at PACU admis-              was documented.The heart rate, respiratory rate, mean arte-
       sion and every 15 min thereafter. Moderate pain was treated               rial pressure, and peripheral oxygen saturation at the time of
       with hydromorphone 0.25 mg, and severe pain with hydro-                   assessment were noted. All of the outcome variables assessed
       morphone 0.5 mg, with the goal of reducing pain scores                    at PACU arrival, with the addition of patient satisfaction
       to less than or equal to 3 on a 0 to 10 numeric rating scale              with pain management scores, were again measured 1 h
       (0, no pain; 10, worst pain imaginable). Patients were tran-              after PACU admission, as well as on the morning (between
       sitioned to a hydromorphone PCA device when adequate                      8 am and 10 am) and late afternoon (between 3 pm and 4
       pain control was achieved (initial programming: a demand                  pm) of postoperative days 1, 2, and 3. Total doses of intrave-
       dose of 0.2 mg with a 10 min lockout interval, a 1 h limit of             nous hydromorphone and oral hydrocodone and acetamin-
       1.2 mg). Discharge to the surgical wards with continuous                  ophen tablets used during each of the first 3 postoperative
       pulse oximetry monitoring occurred when Aldrete scores                    days were recorded.
       of greater than or equal to 8 out of 10 were achieved.                        Data collected from the electronic anesthesia record
           Pain was managed on the first 3 postoperative days using              included anesthesia duration, total volume of crystalloid
       the hydromorphone PCA device, which was discontinued                      solutions, blood loss, urine output, and total dose of fen-
       at the discretion of the managing surgical service. Patients              tanyl. The electronic medical record was reviewed for any
       were transitioned to hydrocodone 5 mg and acetaminophen                   cardiac, respiratory, gastrointestinal, renal, neurologic, or
       325 mg tablets when able to resume oral intake. Pain was                  infection complications during the hospitalization. The

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    duration of hospitalization was obtained from the electronic          mean differences, median differences, and differences in
    medical record.                                                       proportions are reported with their 99% CIs. Median
                                                                          differences and their 99% CIs were estimated using the
    Statistical Analysis                                                  Hodges–Lehmann estimator. The robust approximation
                                                                          of Miettinen and Nurminen was used to construct the
    The primary endpoint of this investigation was hydromor-
                                                                          CIs for risk differences. The criterion for rejection of the
    phone use on postoperative day 1. In a study of patients
                                                                          null hypothesis was a two-tailed P < 0.01 throughout. All
    undergoing spinal fusion surgery using a standard anesthetic,




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                                                                          statistical analyses except calculation of absolute standard-
    the average ± SD intravenous hydromorphone dose in the
                                                                          ized differences were conducted with StatsDirect (United
    first 24 postoperative hours was 27 ± 10 mg in patients given
                                                                          Kingdom).
    standard postoperative pain management and 18.5 ± 14 mg
    in patients given ketamine as an adjunct to that manage-
    ment.19 We anticipated hydromorphone consumption in the               Results
    methadone group in the current study would be 19 mg and               The trial was conducted in accordance with the original
    hypothesized it would be reduced by 40% in the methadone/             protocol, and enrollment ceased when the target sam-
    ketamine group. Because expected group SDs of 14 mg were              ple size was obtained. One hundred thirty patients were
    large relative to the means, sample size was estimated for two-       enrolled in the study and randomized to receive the study
    sided Mann–Whitney test using the standard t test formula-            medications. Three patients in the methadone group were
    tions with a simple adjustment to the sample sizes based on           excluded before study participation because the pharmacy
    the assumption that data distribution is logistic. Using this         was unable to provide study drugs before the start of the
    approach, group sample sizes of 51 and 51 achieve 81% power           procedure. Therefore, data were collected and analyzed on
    to detect a difference of 7.6 mg between the null hypothe-            a total of 127 subjects (61 patients in the methadone group
    sis that both group means are 19.0 mg and the alternative             and 66 patients in the methadone/ketamine group). The
    hypothesis that the mean of group 2 is 11.4 mg with a signif-         flow of patients through the study is presented in figure 1.
    icance level (alpha) of 0.05 (PASS 2008 Number Cruncher                   The two study groups were similar in preoperative
    Statistical System, USA). One hundred thirty patients were            characteristics including age, sex, height, weight, American
    enrolled to ensure complete collection of data.                       Society of Anesthesiologists Physical Status, and preexisting
        Data for the primary outcome variable, milligrams of              medical conditions (table 1). Preoperative sedation scores
    intravenous hydromorphone in the first 24 h after the oper-           were similar between groups, as were the incidences of nau-
    ation, are reported as the median (interquartile range) for           sea, vomiting, dizziness, and itching.The use of preoperative
    both the methadone group and the methadone/ketamine                   opioid medications did not differ between groups.
    group.These data were compared between groups using the                   Perioperative data are presented in table 2.The two study
    Mann–Whiney U test (StatsDirect, United Kingdom). The                 groups did not differ in the types of surgical procedures or
    median difference and its 95% CI were estimated using the             number of vertebrae fused. Similar amounts of fentanyl and
    Hodges–Lehmann estimator. The criterion for rejection of              hydromorphone were given to each study group. No differ-
    the null hypothesis was a two-tailed P < 0.05.                        ences in the times between the end of surgery and tracheal
        All other data, including secondary outcome data, are             extubation, the durations of the procedures, or the times to
    reported as mean ± SD, median (interquartile range), or               meet PACU discharge criteria or achieve actual discharge
    number (percentage) of patients. Continuous data were                 were observed between groups.
    checked for equality of variances; those data that did not                The time until first hydromorphone rescue in the PACU
    meet the assumption of equal variances were reduced                   was longer in the methadone/ketamine group compared
    to ordinal data and are reported as median (interquar-                to the methadone group (table 2). The use of hydromor-
    tile range). Absolute standardized differences of the base-           phone during the first 24 postoperative hours (total dose
    line characteristics of the patients in the two groups were           from PACU nursing staff and PCA device) was significantly
    determined to identify any possible imbalance between                 reduced in patients in the methadone/ketamine group com-
    the groups. Other data reported as mean ± SD were com-                pared to those in the methadone group (primary outcome,
    pared with the unpaired, two-sample t test, data reported as          median [interquartile range], 2.0 [1.0 to 3.0] mg vs. 4.6 [3.2
    the median (interquartile range) were compared with the               to 6.6] mg; median difference [95% CI], 2.5 [1.8 to 3.3] mg;
    Mann–Whitney U test, and data reported as the number of               P < 0.0001; table 3). Similarly, the need for PCA hydromor-
    patients (%) were compared using the chi-square test (with            phone was less in this group on postoperative day 2, as was
    Yates correction) unless at least one expected frequency              total use over 3 days (2.7 [1.0 to 4.8] mg vs. 5.8 [3.9 to 9.2]
    was often less than 5, in which case the Fisher exact prob-           mg in the methadone group; P < 0.0001; fig. 2). Patients
    ability test was used. Because there was no interest in the           in the methadone/ketamine group also requested fewer oral
    change in the variables across time, primary and secondary            opioid tablets on postoperative days 1 and 3, and the total use
    outcome data were only compared between groups at each                over the 3 days was less in this group (11 [4.25 to 16] vs. 20
    time. Given the large number of secondary comparisons,                [12 to 30] in the methadone group; P < 0.0001; fig. 2).

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                                                                                                                Methadone and Ketamine in Spine Surgery




                        Enrollment
                                                                  I Assessed for eli_gibility (n =177) I
                                                                                                                      Excluded (n      =
                                                                                                                                       47)
                                                                                                            • Not meeting inclusion criteria (n      =10)
                                                                                                        ~
                                                                                                                                           =




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                                                                                                            • Declined to participate (n 37)
                                                                                                            • Other reasons (n 0)  =


                                                                        I Randomized (n =130) I

                                                                    I         Allocation            I
                    Allocated to Methadone Group (n 64)       =                                    Allocated to Methadone/Ketamine Group (n             =66)
                • Received allocated intervention (n 61)  =                                        • Received allocated intervention (n 66)      =
                • Did not receive allocated intervention                                           • Did not receive allocated intervention (n         =0)
                    (pharmacy unable to provide study drugs)
                       =
                    (n 3)



                                                                    I         Follow-Up             I
                             Lost to follow-up (n   =0)                                                            Lost to follow-up (n    =0)
                        Discontinued intervention (n      =0)                                                  Discontinued intervention (n      =0)


                                         '                          I          Analysis             1                          .



                                             =
                               Analyzed (n 61)                                                                    Analyzed (n 66)      =
                                             =
                 • Excluded from analysis (n 0)                                                     • Excluded from analysis (n 0)     =


           Fig. 1. Consolidate Standards of Reporting Trials (CONSORT) flow diagram for the randomized, placebo-controlled, double-blind trial of
           methadone (control group) and methadone/ketamine in patients undergoing spinal fusion surgery.



           Preoperative pain scores did not differ between the study                     Content tables 1 (http://links.lww.com/ALN/C570) and 2
       groups (table 4). Median pain scores at rest, with coughing,                      (http://links.lww.com/ALN/C571). Median sedation
       and with movement were all significantly less in the meth-                        scores were 0 (fully awake) in both study groups on postop-
       adone/ketamine group, compared to the methadone group,                            erative days 1 through 3 and did not differ between groups.
       from the time of PACU admission until the afternoon of                            The incidences of nausea, vomiting, need for treatment of
       postoperative day 3 (all P = 0.006 to P < 0.0001), with                           emetic episodes, and itching did not differ between groups.
       the exception of pain at rest on the morning of postopera-                        The percentage of patients reporting hallucinations during
       tive day 2 (P = 0.039; table 4). Patient satisfaction with pain                   the first 3 postoperative days was low (0 to 6%) and similar
       management, reported on a 0 to 10 numeric rating scale,                           in the study groups. No differences between groups in epi-
       was improved in patients in the methadone/ketamine group                          sodes of dizziness were noted during those days. In addition,
       on the morning of the first postoperative day (10 [9 to 10]                       a similar percentage of patients in both groups had hypox-
       vs. 8 [8 to 10] in the methadone group; P = 0.008; table 4).                      emic events (0 to 6.6% of patients) and hypoventilation epi-
       Thereafter, satisfaction scores in both groups were high (all                     sodes (0 to 11.5% of patients). Hemodynamic variables in
       median scores 9 to 10) and did not differ between groups.                         the operating room (Supplemental Digital Content table
           Adverse events possibly related to methadone and ket-                         3, http://links.lww.com/ALN/C572) and during postop-
       amine administration are reported in Supplemental Digital                         erative days 1 through 3 (Supplemental Digital Content

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      Table 1. Patient Characteristics

                                                                             Methadone                       Methadone/Ketamine                           Absolute Standardized
      Characteristics                                                          Group                               Group                                       Difference

      Patients, No.                                                               61                                     66
      Sex, female                                                             34 (56%)                               34 (52%)                                            0.08




                                                                                                                                                                                                Downloaded from http://pubs.asahq.org/anesthesiology/article-pdf/doi/10.1097/ALN.0000000000003743/504193/aln.0000000000003743.pdf by Jonathan Slonin on 12 April 2021
      Age, yr                                                                66 (58 to 72)                        61.5 (47.3 to 69)                                      0.47
      Actual body weight, kg                                                   90 ± 21                                84 ± 20                                            0.29
      Ideal body weight, kg                                                    62 ± 11                                64 ± 11                                            0.18
      Height, cm                                                              169 ± 10                               171 ± 10                                            0.20
      American Society of Anesthesiologists Physical Status                    2 (2 to 3)                             2 (2 to 2)                                         0.36
      Preoperative opioids                                                    38 (62%)                               33 (50%)                                            0.25
      No. of opioid tablets per day                                             2 (0 to 3)*                         0 (0 to 2.5)†                                        0.21
      History
         Smoking                                                                9 (15%)                               8 (12%)                                            0.08
         Drinking                                                               4 (7%)                                7 (11%)                                            0.14
         Steroids                                                               6 (10%)                               6 (9%)                                             0.02
         Myocardial infarction                                                  2 (3%)                                2 (3%)                                             0.02
         Congestive heart failure                                               1 (2%)                                0 (0%)                                             0.18
         Atrial fibrillation                                                    3 (5%)                                2 (3%)                                             0.10
         Hypertension                                                          33 (54%)                              36 (55%)                                            0.01
         Chronic obstructive pulmonary disease/emphysema                        3 (5%)                                2 (3%)                                             0.10
         Obstructive sleep apnea                                               12 (20%)                               8 (12%)                                            0.21
         Liver disease                                                          1 (2%)                                0 (0%)                                             0.18
         Renal disease                                                          6 (10%)                               3 (5%)                                             0.21
         Thyroid disease                                                        9 (15%)                               6 (9%)                                             0.18
         Non–insulin-dependent diabetes mellitus                               10 (16%)                               6 (9%)                                             0.22
         Insulin-dependent diabetes mellitus                                    1 (2%)                                1 (2%)                                             0.01
         Cerebrovascular accident                                               3 (5%)                                1 (2%)                                             0.19
         Transient ischemic attack                                              2 (3%)                                1 (2%)                                             0.12
         Peripheral vascular disease                                            0 (0%)                                0 (0%)
      Preoperative assessment
         Sedation                                                               0 (0%)                                1 (2%)                                             0.17
         Nausea                                                                 6 (10%)                              10 (15%)                                            0.16
         Vomiting                                                               4 (7%)                                3 (5%)                                             0.09
         Itching                                                               13 (21%)                              10 (15%)                                            0.16
         Dizziness                                                              9 (15%)                               9 (14%)                                            0.03
         Heart rate, beats/min                                                 76 ± 13‡                               77 ± 12                                            0.08
         Mean blood pressure, mmHg                                             95 ± 10‡                               95 ± 11                                              0

      The data are mean ± SD, median (interquartile range), or number of patients (%). Drinking history indicates alcohol consumption of more than two drinks per day.
      *n = 57. †n = 63. ‡n = 60.




    table 2, http://links.lww.com/ALN/C571) did not differ                                       may provide particular analgesic benefit in this patient
    between groups.                                                                              population via an inhibition of sensitization of nocicep-
       Cardiac, respiratory, gastrointestinal, renal, neurologic,                                tive pathways, prevention of opioid-related activation of
    or infection complications during the hospitalization were                                   pronociceptive systems, and attenuation of opioid toler-
    infrequent in both the methadone group (0 to 3.3%) and                                       ance and hyperalgesia.17,18 In this clinical investigation, the
    the methadone/ketamine groups (0%; table 2). The dura-                                       antinociceptive effect resulting from the combination of
    tion of hospitalization was similar in both study cohorts                                    agents acting as both NMDA antagonists and µ-opioid
    (table 2).                                                                                   receptor agonists (methadone and ketamine) was assessed.
                                                                                                 We observed that patients in the methadone/ketamine
                                                                                                 group required 57% less hydromorphone on the first
    Discussion                                                                                   postoperative day than did those in the methadone group;
    Despite advances in surgical techniques and anesthetic                                       hydromorphone use was also significantly decreased on
    management, patients undergoing spinal fusion surgery                                        postoperative day 2, and total hydromorphone require-
    continue to experience moderate-to-severe postoperative                                      ments over 3 days was reduced by more than 50%. In
    pain. In recent years, clinicians have employed multimodal                                   addition, pain scores at rest, with coughing, and with
    analgesic regimens in order to reduce postoperative pain,                                    movement were lower in patients in the methadone/ket-
    enhance functional recovery, and decrease hospital length                                    amine group (at 23 of the 24 assessments). The incidences
    of stay. Agents that are antagonists of the NMDA receptor                                    of adverse events were low in both study groups and did

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                                                                                                                                 Methadone and Ketamine in Spine Surgery




           Table 2. Perioperative and Postoperative Data

                                                                            Methadone                   Methadone/Ketamine
                                                                              Group                           Group                            Difference (99% CI)                P Value

           Operative sites
              Thoracic                                                         1 (2%)                            5 (8%)                           −6% (−19 to 6%)                  0.210*




                                                                                                                                                                                                   Downloaded from http://pubs.asahq.org/anesthesiology/article-pdf/doi/10.1097/ALN.0000000000003743/504193/aln.0000000000003743.pdf by Jonathan Slonin on 12 April 2021
              Lumbar                                                          61 (100%)                         66 (100%)
              Sacral                                                          21 (34%)                          33 (50%)                        −16% (−37 to 7%)                    0.111
           Number of levels                                                    1 (1 to 2)                       1.5 (1 to 2)                        0 (0 to 0)                      0.392
           Anesthesia time, min                                               321 ± 117                         319 ± 111                           2 (−50 to 55)                   0.903
           Methadone dose, mg                                                12.5 ± 2.1                        12.9 ± 2.2                        −0.4 (−1.4 to 0.6)                 0.324
           Fentanyl dose, μg†                                                 152 ± 96                          143 ± 89                            9 (−34 to 51)                   0.606
           IV acetaminophen (1,000 mg)                                         11 (18%)                          15 (23%)                        −5% (−23 to 14%)                   0.664
           Extra hydromorphone in operating room                               6 (10%)                            5 (8%)                          2% (−12 to 18%)                   0.891
           Extra hydromorphone in operating room dose, mg                     0.6 ± 0.3‡                         0.6 ± 0.2§                         0 (−0.5 to 0.6)                 0.853
           Fluid volume, ml                                                 2,468 ± 1,040                     2,529 ± 975                        −61 (−528 to 407)                  0.735
           Urine output, ml                                                250 (170 to 500)                  350 (213 to 563)                    −50 (−150 to 70)                   0.311
           Estimated blood loss, ml                                          466 ± 402∥                         418 ± 328                          48 (−122 to 219)                 0.458
           Time of tracheal extubation, min                                  12 (9 to 17)                      11 (8 to 17)#                        1 (−2 to 4)                     0.386
           Time (min) from PACU admission to:
              First hydromorphone request                                   20 (12 to 29)**                   30 (17 to 43)††                     −10 (−19 to −2)                   0.003
              Meeting discharge criteria                                       95 ± 26                            94 ± 27                            1 (−12 to 12)                  0.994
              Actual discharge                                                114 ± 36                           113 ± 33                            1 (−15 to 17)                  0.889
           Duration of hospitalization, days                               3.5 (3.0 to 4.75)                  3.0 (3.0 to 4.0)                    0.25 (0 to 1)                     0.043
           Postoperative complications during hospitalization
              Respiratory                                                       2 (3%)                            0 (0%)                           3% (−6 to 15%)                  0.457*
              Gastrointestinal                                                  1 (2%)                            0 (0%)                           2% (−8 to 13%)                  0.961*
              Cardiac                                                           2 (3%)                            0 (0%)                           3% (−6 to 15%)                  0.457*
              Renal                                                             1 (2%)                            0 (0%)                           2% (−8 to 13%)                  0.961*
              Neurologic                                                        1 (2%)                            0 (0%)                           2% (−8 to 13%)                  0.961*
              Infection                                                         0 (0%)                            0 (0%)

           The data are means ± SD, median (interquartile range), or number of patients (%). The data reported as mean ± SD were compared with the unpaired t test, the data reported as
           median (interquartile range) were compared using the Mann–Whitney U test, and the data reported as the number of patients (%) were compared using the Pearson chi-square test
           or, when at least one of the cells of the contingency table had an expected n < 5, the Fisher exact probability test. n = 61 in the methadone group, and n = 66 in the methadone/
           ketamine group, except where indicated.
           *Fisher exact probability test. †The fentanyl dose includes the 100 μg allowed by the protocol. ‡n = 6. §n = 5. ∥n = 60. #n = 65. **n = 50. ††n = 45.
           IV, intravenous; PACU, postanesthesia care unit.




       not differ. These findings demonstrate that the perioper-                                      a single dose of intraoperative methadone in adult patients
       ative combination of methadone and ketamine is highly                                          undergoing spine surgery. Gottschalk et al. reported that
       effective in reducing postoperative analgesic consumption                                      opioid requirements were 50% lower at 48 h in subjects
       and pain intensity in a patient population typically report-                                   given 0.2 mg/kg of methadone, compared to those given
       ing severe postoperative pain.                                                                 a continuous sufentanil infusion.14 Similar findings were
           Methadone is a unique long-acting µ-opioid recep-                                          observed in a trial randomizing 120 patients to receive
       tor agonist that produces prolonged analgesia when given                                       0.2 mg/kg of methadone at induction or 2 mg of hydro-
       in larger doses (24 to 36 h at doses greater than or equal                                     morphone at the end of spinal surgery.13 Although both
       to 20 mg).20 In addition, methadone may reduce pain by                                         studies reported that pain scores were lower in patients
       antagonizing NMDA receptors21,22 and inhibiting reuptake                                       given methadone, pain intensity was still described as mod-
       of serotonin and norepinephrine in the central nervous sys-                                    erate during the first 3 postoperative days in these sub-
       tem.23,24 Two studies have examined the analgesic effects of                                   jects.13,14 While methadone provides analgesic benefits in


           Table 3. Primary Outcome: Intravenous Hydromorphone Requirements in the First 24 h Postoperatively

                                                               Methadone Group                  Methadone/Ketamine Group                      Difference (95% CI)                 P Value

           Intravenous hydromorphone, mg first 24 h               4.6 (3.2 to 6.6)                        2.0 (1.0 to 3.0)                         2.5 (1.8 to 3.3)               < 0.0001

           The data are reported as median (interquartile range) and were compared between groups using the Mann–Whitney U test. These data are also reported in fig. 2A with the difference
           (99% CI) for the sake of completeness and consistency. n = 61 in the methadone group, and n = 66 in the methadone/ketamine group.




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       A Group                                                            Postoperative Analges ic Requirement s - IV Hydromorphone, mg
                            Methadone        Methadone/Ketamine
                                                                                                                                                 Difference (99%CI)
           PACU                1.2
                           (0.5 to 2.2)
                                                       0.7
                                                   (0 to 1.2)
                                                                            PACU
                                                                                          -v-                                                            0.6
                                                                                                                                                     (0.2 to 1.0)


           First 24 h           4.6
                           (3 .2 to 6.6)
                                                      2.0
                                                  (1.0 to 3.0)
                                                                        First 24 h
                                                                                                                   ◊                                    2.5
                                                                                                                                                    (1.6 to 3.5)




                                                                                                                                                                                    Downloaded from http://pubs.asahq.org/anesthesiology/article-pdf/doi/10.1097/ALN.0000000000003743/504193/aln.0000000000003743.pdf by Jonathan Slonin on 12 April 2021
           Second 24 h          1.2                   0              Second 24 h f--+---+----                                                            0.5
                            (0 to 3.0)            ( Oto 1.2)                                                                                         (0 to 1.3)


           Th ird 24 h           0                     0               Th ird 24                                                                         0
                             (0 to 0)              ( Oto 0)                                                                                           (0 to 0)


           Total                5.8                   2.7                   Total                                                                       3.4
                           (3 .9 to 9.2)          (1.0 to 4.8)                                                                                      (2.0 t o 4.8)
           Data are reported as median (interquarti le range).                       0                        2         3         4          5
           n = 61 in the methadone group and n = 66 in the
                                                                                   Methadone - Methadone/Ketamine Group Difference (99% Cl)
           methadone/ketamine group .

       B                                                                     Postoperative Analgesic Requirements - Hydrocodone Tablets
           Gr oup          Methadone         Methadone/Ketamine
                                                                                                                                                 Diffe rence (99%CI)
           First 24 h           4                     2                                                                                                  2
                                                                         First 24 h f---+---;>---
                             (Oto 8)                (Oto 3)                                                                                           (0 to 4)


           Second 24 h           8                      6             Second 24 h >---+------;>-----                                                     2
                             (2 to 12)              (2 to 8)                                                                                          (Oto 6)


           Th ird 24 h           8
                             (2 to 12)
                                                      3
                                                   (Oto 6)
                                                                        Third 24 h
                                                                                                    0                                                     4
                                                                                                                                                      (1 t o 7)


           Total                20                    11                    Total                                                                        10
                            (12 to 30)           (4.25 to 16)                                                                                         (4 to 16)
           Data are reported as median (interquarti le range) .                     0.0       2.5       5.0       7.5   10.0   12.5   15.0
           n = 61 in the methadone group and n = 66 in the                         Met hadone - Met hadone/Ketamine Group Difference (99% Cl)
           methadone/ketamine group .



      Fig. 2. Analgesic requirements in the postanesthesia care unit (PACU), in the first, second, and third 24 h postoperatively and the total
      requirements from the PACU to the end of the third 24 h postoperatively. (A) Median (interquartile range) intravenous hydromorphone require-
      ments for the patients in the methadone group and those in the methadone/ketamine group with a forest plot of the difference (99% CI)
      between the groups. (B) Median (interquartile range) number of hydrocodone 5 mg/acetaminophen 325 mg tablets required by the patients in
      the methadone group and those in the methadone/ketamine group with a forest plot of the difference (99% CI) between the groups.



    this patient population, doses of 0.2 mg/kg alone are insuf-                         ketamine for spine surgery consumed less opioid in the first
    ficient to reduce pain to mild levels (less than or equal to 3                       24 h, but had only slightly lower pain scores compared to
    on a 0 to 10 scale)25 in most subjects.                                              control groups.7 These investigations indicate that the use
        Like methadone, ketamine inhibits the NMDA recep-                                of supplemental ketamine in spinal surgical patients results
    tor,26 binds to the µ-opioid receptor,27 and increases con-                          in lower opioid consumption in the first 24 h, but may have
    centrations of serotonin and norepinephrine in the brain.28                          only a small effect on postoperative pain scores.
    The use of ketamine in the setting of spinal fusion surgery                              A supra-additive synergy between methadone and ket-
    has been extensively studied. In the largest randomized                              amine has been demonstrated in an experimental neurop-
    study enrolling 150 opioid-dependent patients, subjects                              athy model.11,12 Only one previous clinical investigation
    given an S-ketamine infusion used 35% less morphine at                               examined the analgesic benefits of combining these two
    24 h than did the placebo group.29 Patients given a ketamine                         medications. Pacreu et al. reported that patients given intra-
    infusion in a similar large trial required 30 to 37% less mor-                       operative methadone, an intraoperative ketamine infusion,
    phine 24 to 48 h after surgery than patients given saline.30                         and a methadone/ketamine PCA required 70 to 80% less
    However, pain scores at rest were 4 to 6 on a 0 to 10 scale                          opioid on the first 2 postoperative days, compared to a
    in the ketamine groups in both studies, and did not differ                           group given intraoperative methadone, a saline infusion,
    from groups receiving placebo.29,30 A meta-analysis of 14                            and a methadone PCA.31 Similarly, we observed that hydro-
    randomized trials reported that patients given adjunctive                            morphone requirements during the first 48 postoperative

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                                                                                                                              Methadone and Ketamine in Spine Surgery




           Table 4. Levels of Pain at Rest, with Coughing, and with Movement, and Overall Satisfaction with Pain Management

                                                     Methadone Group                   Methadone/Ketamine Group                         Difference (99% CI)                    P Value

           Level of pain at rest
             Preoperative                                   5 (2 to 7)                              4 (2 to 6)*                                  1 (−1 to 2)                    0.329
             At PACU admission                              6 (3 to 8)†                             3.5 (0 to 5)‡                                2 (0 to 4)                     0.002




                                                                                                                                                                                                Downloaded from http://pubs.asahq.org/anesthesiology/article-pdf/doi/10.1097/ALN.0000000000003743/504193/aln.0000000000003743.pdf by Jonathan Slonin on 12 April 2021
             1 h after admission                            5 (3 to 6)§                             3 (2 to 4)∥                                  2 (1 to 3)                    < 0.0001
             Postoperative day 1 – am                       4 (3 to 6)#                             3 (2 to 3)                                   2 (1 to 2)                    < 0.0001
             Postoperative day 1 – pm                       4 (3 to 5)                              3 (2 to 3)                                   1 (1 to 2)                    < 0.0001
             Postoperative day 2 – am                       3 (2 to 4.5)§                           3 (2 to 3)∥                                  1 (0 to 1)                     0.039
             Postoperative day 2 – pm                       4 (2 to 5)#                             3 (2 to 3)**                                 1 (0 to 2)                    < 0.001
             Postoperative day 3 – am                       4 (3 to 5)††                            3 (2 to 3)†                                  1 (1 to 2)                    < 0.0001
             Postoperative day 3 – pm                       3 (2 to 4)‡‡                            2 (2 to 3)§§                                 1 (0 to 2)                    < 0.0001
           Level of pain with coughing
             Preoperative                                   6 (4 to 9)                              4 (2 to 7)*                                  2 (0 to 3)                     0.016
             At PACU admission                              6 (4 to 8)†                             4 (0 to 5.75)‡                               2 (0 to 4)                     0.005
             1 h after admission                            5 (4 to 7)§                             4 (2 to 4)∥                                  2 (1 to 3)                    < 0.0001
             Postoperative day 1 – am                       5 (3.75 to 6)#                          3 (2 to 4)                                   2 (1 to 3)                    < 0.0001
             Postoperative day 1 – pm                       4 (3 to 6)#                             3 (2 to 4)                                   1 (1 to 2)                    < 0.0001
             Postoperative day 2 – am                       4 (3 to 5)§                             3 (2 to 4)∥                                  1 (1 to 2)                    < 0.0001
             Postoperative day 2 – pm                       5 (3 to 6)#                             3 (2 to 4)**                                 2 (1 to 3)                    < 0.0001
             Postoperative day 3 – am                       4 (3 to 6)††                            3 (3 to 4)∥∥                                 1 (0 to 2)                    < 0.0001
             Postoperative day 3 – pm                       4 (3 to 5)##                            3 (2 to 3)***                                1 (1 to 2)                    < 0.0001
           Level of pain with movement
             Preoperative                                   9 (7 to 9)                              8 (6 to 10)*                                 0 (0 to 1)                     0.212
             At PACU admission                              6 (4 to 8.25)†                          4 (0.5 to 6)‡                                2 (0 to 4)                     0.006
             1 h after admission                            6 (4 to 7)§                             4 (2 to 5)∥                                  2 (1 to 3)                    < 0.001
             Postoperative day 1 – am                       5.5 (4 to 7)†††                         4 (3 to 5)§                                  2 (1 to 3)                    < 0.0001
             Postoperative day 1 – pm                       5 (4 to 7)§                             4 (3 to 5)‡‡‡                                1 (0 to 2)                    < 0.0001
             Postoperative day 2 – am                       5 (4 to 6)§                             4 (3 to 5)**                                 2 (1 to 2)                    < 0.0001
             Postoperative day 2 – pm                       5.5 (4 to 6)#                           4 (3 to 5)**                                 2 (1 to 2)                    < 0.0001
             Postoperative day 3 – am                       5 (4 to 6)††                            4 (3 to 5)†                                  1 (0 to 2)                    < 0.001
             Postoperative day 3 – pm                       4 (3 to 5)‡‡                            3 (3 to 4)§§                                 1 (0 to 2)                    < 0.001
           Overall satisfaction with pain management
             At PACU discharge                              6 (5 to 8)‡‡‡                           7 (5 to 8)§§§                                −1 (−2 to 0)                   0.099
             Postoperative day 1 – am                       8 (8 to 10)                             10 (9 to 10)                                 0 (−1 to 0)                    0.008
             Postoperative day 1 – pm                       9 (8 to 10)                             10 (9 to 10)                                 0 (−1 to 0)                    0.011
             Postoperative day 2 – am                       9 (8 to 10)§                            9 (9 to 10)∥                                 0 (−1 to 0)                    0.037
             Postoperative day 2 – pm                       9 (8 to 10)#                            9 (8 to 10)**                                0 (−1 to 0)                    0.087
             Postoperative day 3 – am                       9 (8 to 10)∥∥                           9.5 (9 to 10)†                               0 (−1 to 0)                    0.076
             Postoperative day 3 – pm                       9 (8 to 10)∥∥∥                          9 (8 to 10)###                               0 (−1 to 0)                    0.216

           The data are reported as median (interquartile range) and were compared between groups at the various times using the Mann–Whitney U test. No within-group (i.e., across time)
           comparisons have been made. Level of pain scores on a 0 to 10 scale: 0 = no pain to 10 = worst pain imaginable. Overall satisfaction with pain management on a 0 to 10 scale:
           0 = worst possible to 10 = best possible. N = 61 in the methadone group, and n = 66 in the methadone/ketamine group, except where indicated.
           *n = 65. †n = 56. ‡n = 62. §n = 59. ∥n = 64. #n = 60. **n = 63. ††n = 58. ‡‡n = 49. §§n = 33. ∥∥n = 55. ##n = 48. ***n = 32. †††n = 54. ‡‡‡n =57. §§§n = 61. ∥∥∥n = 44.
           ###n = 29.
           PACU, postanesthesia care unit.




       hours were reduced by more than 50% in patients given                                         of the assessment on the morning of postoperative day 2.
       methadone and ketamine when compared to patients given                                        In addition, median pain at rest and with coughing was
       methadone alone. Furthermore, the number of oral opioid                                       reduced to mild levels (less than or equal to 3 on a 0 to 10
       medications needed was significantly lower in the metha-                                      scale) in the methadone/ketamine group from the morning
       done/ketamine group on postoperative days 1 and 3, and                                        of the first postoperative day through the late afternoon of
       total use was 45% less in this group.                                                         postoperative day 3. These findings are in contrast to other
           In contrast to the findings of Pacreu et al., we observed                                 studies using either methadone or ketamine alone for spinal
       that patients given both methadone and ketamine had lower                                     surgery, in which postoperative pain scores were moderate
       pain scores after surgery compared to those given metha-                                      (mean/median scores of 4 to 6 on a 0 to 10 scale) in patients
       done alone. Median pain scores at rest, with coughing, and                                    given these agents.13,29,30
       with movement were significantly lower in the methadone/                                         Primary goals of enhanced recovery after surgery pro-
       ketamine group from the time of PACU arrival until the                                        tocols are to reduce hospital length of stay and to enhance
       late afternoon of postoperative day 3, with the exception                                     patient recovery. Although we observed a greater analgesic

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      benefit in the methadone/ketamine group for up to 72 h                     all patients, as is standard practice in major spine surgery at
      after surgery, these benefits did not translate into a shorter             our institution. Remifentanil may produce opioid-induced
      PACU or hospital length of stay. When implementing                         hyperalgesia, and after methadone administration at anes-
      enhanced recovery after surgery protocols, it is also neces-               thetic induction, the additional analgesia provided by the
      sary to document that interventions result in improvements                 infusion was likely not required. Furthermore, total remifen-
      in subjective outcomes that are important to patients, such                tanil doses were not recorded. However, the doses calculated
      as overall satisfaction.32 Previous studies have shown that sur-           from actual patient body weights, the durations of anesthesia,




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      gical patients given adjunctive methadone13 or ketamine33                  and remifentanil infusion rates were similar between groups
      reported higher satisfaction scores in the early recovery                  (3.0 ± 1.5 mg in the methadone group and 2.7 ± 1.2 mg in
      period. In the current investigation, we observed that patient             the methadone/ketamine group).
      satisfaction with pain management was better in the metha-                     Postoperative pain is often difficult to manage in patients
      done/ketamine patients on the morning of the first postop-                 undergoing spinal fusion surgery. In this clinical trial, spi-
      erative day. Thereafter, median satisfaction scores were 9 on              nal surgical patients randomized to receive intraoperative
      scale of 0 to 10 in the methadone group, which did not sig-                methadone with a perioperative ketamine infusion required
      nificantly differ from the scores of the methadone/ketamine                significantly less opioid pain medication and reported lower
      group. These results, and findings from previous trials,34 sug-            pain scores during the first 3 postoperative days, compared
      gest that patient satisfaction with pain management is high                to those given methadone alone. Postoperative analgesia
      when methadone is used, and that there is little incremental               can be significantly enhanced in this patient population by
      benefit of adding ketamine on this outcome measure.                        using a combination of agents that act on both the NMDA
          There are a number of adverse events that may be asso-                 and µ-opioid receptors.
      ciated with the use of either methadone or ketamine in
      the perioperative setting, which include nausea/vomiting,                  Research Support
      respiratory depression, sedation, itching, tachycardia/hyper-              Supported by the Department of Anesthesiology,
      tension, and hallucinations/vivid dreams.6–9 Reviews and                   NorthShore University HealthSystem, Evanston, Illinois.
      meta-analyses have reported that the incidences of these
      adverse outcomes are no higher in patients given either                    Competing Interests
      methadone9,34 or ketamine6–8 than in control group patients                Dr. Murphy has served as a speaker for Merck, Kenilworth,
      managed with standard care. The risks of using methadone                   New Jersey. Dr. Avram is the assistant editor-in-chief of
      and ketamine together in the perioperative period, how-                    Anesthesiology. Dr. Greenberg is editor of the Anesthesia
      ever, have not been defined. In this trial, the percentage of              Patient Safety Foundation Newsletter, Rochester,
      patients developing adverse events involving the respiratory               Minnesota, and a speaker for the American Association of
      system (hypoxemia, hypoventilation), central nervous sys-                  Nurse Anesthetists, Park Ridge, Illinois. The other authors
      tem (sedation, hallucinations, dizziness), and gastrointesti-              declare no competing interests.
      nal system (nausea, vomiting) was low, and no differences
      between groups were observed. Similarly, the overall inci-                 Correspondence
      dences of complications during the entire hospitalization                  Address correspondence to Dr. Murphy: Illinois Masonic
      (cardiac, respiratory, gastrointestinal, neurologic, infection,            Hospital, 836 West Wellington Avenue, Chicago, Illinois
      and renal) did not differ between the two groups. Although                 60657. dgmurphy2@yahoo.com. Anesthesiology’s articles
      we observed an additive analgesic effect of combining meth-                are made freely accessible to all readers on www.anesthe-
      adone and ketamine, the use of both agents together did not                siology.org, for personal use only, 6 months from the cover
      appear to increase the risk of postoperative complications.                date of the issue.
          There are several limitations to this investigation. First, ideal
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